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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


M.P. MOON, individually and as representative
of a class of participants and beneficiaries in and
on behalf of the DuPont Pension and Retirement C.A. No. 1:19-cv-01856-SB
Plan,


           Plaintiff,
                                              Class Action
vs.


E.I. du Pont de Nemours and Company,


           Defendant.




               PLAINTIFF’S MOTION FOR CLASS CERTIFICATION



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       Plaintiff M.P. Moon, plaintiff in the above captioned action (the “Action”), by and through

his attorneys, respectfully moves this Court for an order:

       (a)     certifying the Action as a Class Action pursuant to Fed. R. Civ. P. 23 on behalf of

the following Classes:

               1.        All participants and beneficiaries of the Plan from 1999 to the
                         present, excluding DuPont and any participant who is a fiduciary
                         to the Plan, who was eligible for unreduced retirement benefits
                         from the Plan prior to attainment of normal retirement age of 65
                         and whose unreduced retirement benefits commenced on a date
                         that was later than his or her earliest eligibility for unreduced
                         pension benefits (the “Monetary Class”).

               2.        All participants and beneficiaries of the Plan from 1999 to the
                         present, excluding DuPont and any participant who is a fiduciary
                         to the Plan, who DuPont provides notices concerning benefits
                         available to participants in the Plan. (the “Structural Changes
                         Class”).

       (b)     appointing Plaintiff’s counsel as Class Counsel; and

       (c)     appointing Plaintiff as Class Representative.

       The grounds for this Motion are set forth more fully in the accompanying Opening Brief

and Declaration of Michael C. McKay and Exhibits thereto, as well as the papers and pleadings

filed in this action, the arguments of counsel, and any other matters properly before the Court.




DATED this 12th day of November, 2021.

                                               By:     /s/ P. Bradford deLeeuw
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                                        Attorneys for Plaintiff and the proposed
                                        Classes




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